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Deeember 5, 2017

 

  
   
 

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New Yorl<, NY 10007 -»

Re: Alpr`ne Securin'es Corpoi~af:`on adv. Unitea' States Securr`n`es and Exchange Comm.
Civil No. l:l?-cv-04i79-DLC-RLE

JOINT LETTER MOTION REOUESTING REDAC’I`ION
FROM OFFICIAL TRANSCRIPT NOVEMBER 2, 2017 CONFERENCE

Dear Judge Cote:

This letter is being jointly filed by Plaintiff Securities and Exchange Cornrnission
(“SEC”) and Defendant Alpine Securities Corporation (“Alpine”) to request redactions from the
Officiai Transcript from the Conference held on November 2, 2017, in accordance With the
Court’s minute entry on November 21, 2017 (Dl<t. No. 61). The subject transcript contains
discussion regarding Suspicious Activity Reports (“SARS”), including information regarding
individuals or entities Which are the subjects of the SARs, The SARs discussed at the conference
Were filed vvith the Court under seal (Dkt. No. 53).

Good cause exists to redact any information indicating the existence of a SAR, or Which
could contain identifying information regarding the subject of a SAR, because of the strict
confidentiality provisions applicable to SARS under the Bank Secrecy Act (“BSA”), 31 U.S.C.
§§ 5311~5330, and its implementing reguiations. Specifically, 31 U.S.C. § 53l8(g)(2) of the
BSA generally precludes both “financial institutions” and governmental entities from disclosing
“to any person involved in the transaction that the transaction has been reported.” 31 U.S.C. §

5313(§)('2)@)-(50-

Additionaliy, 31 C.F.R. § l023.320(e), addressing Reports by Brokers or Dealers of
Suspicious Transactions, states that “[a] SAR, and any information that Would reveal the
existence of a SAR, are confidentiai . . . .” 31 C.F.R. § 1023.320. As a result, subject to certain

 

 

 

 

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exceptions, “brol<er-deaiers” are generally prohibited from “discios[ing] a SAR or any
information that Would reveal the existence of a SAR.” Id. §1023.320(e)(l). Governrnental
authorities similarly “shall not disclose a SAR, or any information that Would reveal the
existence of a SAR except as necessary to fulfill officiai duties consistent With Title ll of the
Banl< Secrecy Act.” Id. § 1023.320(e)(2), Based on these, and other strict confidentiality
provisions in the BSA, courts have held that “‘SARS are confidential and subject to an
unquaiitied discovery and evidentiary privilege that courts have held cannot be Waived.’ ” S.E.C.
v. Yorkv.r`lle /idvr'sors, LLC, 300 F.R.D. ]52, 167 (S.D.N.Y. 2014) (further quotations omitted)
(citations omitted).

Attached hereto as Exhibit A, is a copy of the Novcmber 2, 2017 Offlcial Transeript With
redactions in accordance With the confidentiality requirements of the BSA and its implementing
regulations The parties jointly request that the Court redact the subject transcript in accordance
With ExhibitA.

Respectfully submitted,

/s/ Terri) R. jl/[i'ller
Zachary T. Carlyle (pro hac vice)
Terry R. Miiler (pro hac vice)
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AM?X &/i?l&"l >L¢;” y A’°‘?’ 551 % /s/ Brent R. Baker
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cc: Counsel of Record (via CM/ECF)

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